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Hinds County Detention Services

Chapter 13:

Health Care Subject: HEALTH CARE MANAGEMENT

Pages:

Effective Date:

Policy Number: 13-100

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Hinds County Detention Services (HCDS) provides twenty-four hour in-house
health care (medical, dental and mental health) to all inmates with genuine, non-
elective health care needs. The health care delivery system is predicated on the
practice of decentralized triage to maximize resources, complement security and
provide cost effective and timely health care services. Such care includes the
assistance of community-based medical and mental health care services.

The twenty-four hour professional health care service provides inmates a level of
health care quality consistent with national, state and local standards, and
community level of care. The health care provider conforms to practices of
confidentiality and maintains appropriate staffing levels as well as certification of
its personnel. HCDS staff is provided comprehensive medical training in
responding to medical emergencies and in recognizing symptoms and problems,
in order to promote a safe, healthful and effective operational environment.

PROCEDURES:

13-101 GENERAL

1. The health care provider provides 7 day a week 24-hour on-site health services for the
HCDS including the provision of emergency medical care, daily triage, and sick call
services for inmates. Medical staff includes a Mississippi Licensed Physician who serves
as Medical Director and is responsible for overseeing the health care services in all
HCDS facilities. All other medical/health care personnel must meet appropriate and
current licensing or certification requirements. The Health Services Administrator (HSA)
oversees the administration of the health care program.

2. Health care related judgements are made by the physician, psychiatrist, nurse
practitioner, or dentist working for or under contract with the HCDS. All treatment by

health care personnel other than a physician, dentist, psychologist, optometrist,

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podiatrist, or other independent provider is performed pursuant to written standing orders
by personnel authorized by law to give such orders. Written orders from the physician or
nurse practitioner are made available to, and maintained by the medical staff. These
orders state what medical care may be performed by personnel other than a

physician. Any students or interns delivering health care services work only under the
direct supervision of medical staff and only at a level commensurate with their training.

3. The health care provider is responsible for identifying needs and scheduling and
coordinating the following:

a. All emergency and non-emergency health care services for inmates committed to
HCDS.

b. All supporting examinations.

c. All physician services including, general practitioner, surgeon and specialists.

d. All equipment and supplies used by the medical contractor including all medical
supplies, laboratory supplies, pharmaceuticals, forms and related items necessary
for the acceptable performance of the contract.

e. Provisions for chronic care and convalescent care.

Training for medical staff is consistent with their level of health care

responsibilities.

g. All mental health services including any mental health unit.

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4. Inmates or any other non-medical personnel are not used for the following duties:

Performing direct patient care services.

Scheduling health care appointments.

Determining access of other inmates to health care services.

Handling or having access to: surgical instruments; syringes or needles;
controlled substances or unauthorized access to health records; nor operating
diagnostic or therapeutic equipment for which they are not trained.

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5. Volunteers are allowed to provide health care services in the facility only on the joint
approval of a position description for that person by the designated health care agency
and the Detention Administrator, which includes the basis for selection, required training,
and length of service, definition of tasks, supervision, and responsibilities. In addition to
these procedures, other procedures or policy on volunteers will apply. (Policy 16-600
Volunteers)

6. The health care provider and its staff maintain on-site copies of all licenses necessary to
render health care services in the HCDS.

7. Collection and recording of health appraisal data is completed in a uniform manner and is
performed only by qualified health care personnel.

8. The health care provider participates in an annual peer review and evaluation of health

care services by the Hinds County Public Health, or other qualified peer group
designated by the Detention Administrator.

9. Although there are no restrictions imposed on the health care provider in the practice of
medicine, all medical staff are required to follow all HCDS security regulations and are

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required to successfully pass a pre-employment security and background clearance
conducted by the Sheriffs Office. Health care staff must complete the HCDS orientation
prior to beginning work in the HCDS.

Health care staff must display HCDS Identification Badge while working in the HCDS.

The HSA schedules and meets with the Detention Administrator on at least a menthly
weekly basis to submit any required reports and discuss the contractor's compliance with
contractual obligations.

The HSA submits monthly reports to the Detention Administrator and Sheriff detailing the
overall operation of the health care services program and the overall general health of the
persons committed to the custody of the HCDS. The HSA submits to the Detention
Administrator a written monthly evaluation of treatments provided to the inmates, which
includes a long-term illness report and other statistical information covering the inmate
population as defined by the Detention Administrator and HSA and/or outlined in Policy 4-
500, Monitoring and Assessment Operations. The Detention Administrator schedules
monthly Medical Advisory Committee (MAC) meetings in which the HSA and appropriate
health care and HCDS staff participate. The HSA assigns staff to participate in
Interdisciplinary Team meetings as required by policy.

Awritten policy and procedure manual for health care providers is maintained by the
health care provider. This manual is reviewed and updated annually by the medical
provider and the Detention Administrator.

First Aid kits and Bloodborne Pathogen Protection kits are located at each Housing Unit
Officer's desk as a part of inventory as well as other areas as determined by each Facility
Commander. The Fire Safety Officer (FSO) stocks the kits and maintains an inventory
listing of approved contents, which is maintained within the kits. The kits are checked
monthly and documented by FSO. Staff notify the FSO if items are removed from the
kits, and the FSO replaces used contents promptly after this notification. The FSO
verifies and tests the access to Automated External Defibrillator throughout HCDS
facilities on a scheduled basis, and provides training to security staff on an annual basis.

If the health care provider is not able to provide special medical services to inmates in the
HCDS, the health care provider arranges for all necessary health care to be provided
elsewhere including access to an adequately equipped, licensed general hospital in the
community. Arrangements are made with health care specialists in advance of need. All
health services that can possibly be conducted in the HCDS are not conducted
elsewhere. When appropriate, the physician, nurse practitioner or Discharge Nurse
makes referrals for treatment upon an inmate's release.

When an inmate is released from the hospital and/or other medical or mental health care
provider and is transported back to the Raymond Detention Center/ Work Center/
Jackson Detention Center, he/she must be seen by medical staff to review accompanying
medical release documentation entailing treatment and care provisions before the
inmates are released to housing units. Health care staff provide treatment information
(e.g., lower bunk, restricted recreation activities, etc.) to the housing units if appropriate.

Health services provide for continuity of care from admission to discharge and also
include providing for preventive medical care of the inmates and program of health care

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education. The health care provider provides for regular checkups and health appraisals
requested by inmates but at least annually.

18. No Detention personnel or medical staff are permitted to conduct medical,
pharmaceutical or cosmetic testing on inmates for experimental or research purposes.

19. Medical and dental prostheses are provided when the lack of the same would seriously
affect the health and well-being of an inmate. Such a determination is made by a
physician or dentist.

20. The inmates are charged a fee per sick call but are not denied services if funds are not
available. Inmates are not charged for emergency, mental health visits, or chronic care
services. Fees may be waived upon approval of the Detention Administrator. Health
care staff do not discuss fees with inmates.

21. Detention Officers are assigned to, and remain in, the clinic and medical units when
inmates are present according to the staffing plan.

13-102 HEALTH CARE SERVICES AVAILABILITY

1. Medication rounds are provided two times daily, or as directed by prescribing provider,
seven days per week. Inmates can make requests for medical services on the kiosk
system or make a request to nursing staff during medication rounds.

2. Sick Call is conducted daily. Non-emergency inmate requests for health services must
be triaged within 24 hours. (See 13-200, Administration of Treatment).

3. Doctors’ clinic is conducted at least two days per week by a licensed physician or
advanced level practitioner at each facility. Other clinics are conducted for specialty
referrals as needed.

4. The dental care program provides basic dental services including extractions and
hygiene services. Services are available at least once per week and on an emergency
basis. All examinations and treatment are performed by a dentist licensed to practice in
Mississippi. Specialized treatment beyond basic dental care must be at the inmate's
expense and upon the approval of the Detention Administrator and HSA.

5. Special Needs Communication Forms are required for all medically-related equipment
(e.g., wheelchairs, crutches) in the possession of inmates. The health care provider
completes and gives copies to the inmate, the Housing Unit Officer who enters the
approval in the Post Log Book, and Classification, and one copy remains in Medical.

6. The HSA authorizes placement in and release from Medical Housing. Medical Housing is
operated according to 8-700, Medical Housing Operations. The HSA notifies
Classification for housing assignment upon release.

MANAGEMENT OF CHEMICAL DEPENDENCY
7. Detoxification is conducted by a coordinated effort between Mental Health, the Medical

Unit, Classification staff and involved security staff. The HCDS provides counseling and
program services to inmates for alcohol and drug addiction problems.

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8. The health care provider manages chemically dependent inmates by:

a. diagnosing the chemical dependency and/or identifying inmates at risk for adverse
response to detoxification.

b. determining whether the inmate requires non-pharmacologically or
pharmacologically supported treatment.

c. developing individualized treatment plans implemented by the multi-disciplinary
team.

d. making referrals via the discharge planner to specified community resources on
release, when appropriate.

13-103 HEALTH SCREENINGS

1.

During the orientation process, a medical staff member advises inmates of medical,
mental health, and dental services that are available. Disease prevention education is
offered to newly committed inmates. (See also 16-100, Administration of Programs and
Services).

Upon the arrestee entry to Booking, the Detention Officer contacts Medical if there
appears to be a question of fitness for custody. Inmates who are not fit for custody are
not booked into the facility without approval of health care staff.

Medical, dental and mental health screenings are conducted on inmates by qualified
health care staff as part of the booking process and no later than eight hours after
booking (this includes all intra-system transferred inmates). Screenings are conducted
in Booking on a 24-hour basis. The medical provider records all findings on the Intake
Health Screening and/or Intake Mental Health Screening forms.

Mental health screenings occur as part of the medical and intake screening processes.
Staff refer inmates for further assessment by mental health staff if there is any indication
of, or self-report of, mental health issues. See also, 13-400, Mental Health Services.

During the medical intake screening, Medical conducts a PPD Screening on all newly
committed inmates unless the inmate reports that s/he had a previous positive

PPD. Medical staff conducts additional tests and/or exams if deemed necessary. A
PPD is done on all new intakes at 72 hours into the facility. If an inmate refuses to have
a PPD when requested, the Medical and Classification staff determine appropriate initial
housing.

The medical provider completes a history and physical examination within 72 hours of
admission. If there is documented evidence of a physical examination by the facility
health care provider within the previous 90 days, a new physical examination is not
required unless — 1) the initial assessment reveals information which requires a new
history and physical, or 2) the medical provider's nursing protocols would otherwise
require a new history and physical.

Physical examinations include review of initial medical screening, dental histories, lab
testing and recording of height, weight, pulse, blood pressure and temperature. Further,
the provider performs tests to detect communicable diseases and any other appropriate
tests. All relevant information is documented in the Inmate Medical Record.

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PHYSICAL EXAMINATION OF INMATES

Medical staff conducting the physical examination informs the inmate of the procedures
for obtaining access to medical and emergency services while incarcerated at the
HCDS. As part of the physical examination, medical staff ask about sexual safety risk
considerations.

Dental screenings and hygiene services as well as oral hygiene and dental education are
completed within 72 hours of admission to the HCDS. Complete initial oral examination
and treatment is performed by the dentist within 12 months of admission to the HCDS.

Inmates remaining in restrictive housing receive a medical and mental health evaluation
every 7 days in order to assess their health and well-being. The medical assessment
includes a personal interview and medical evaluation of vital signs, and is documented in
the Inmate Medical Record. Restrictive Housing inmates are also checked three times a
week by medical staff. Inmates in Restrictive Housing have the opportunity to complete a
Sick Call Request Form daily during medication rounds. This check consists of soliciting
questions and complaints from the inmate and this information is placed in the inmates’
medical record.

lf an inmate does not maintain proper personal hygiene, then medical staff may indicate
whether there is a clinical risk of infection or contamination that may cause harm to the
inmate or other persons. Upon notification by medical staff, HCDS staff, under the
supervision of the Area Supervisor, implement corrective measures (e.g., movement of
the inmate or assisted bathing).

13-104 PRENATAL COUNSELING/ FAMILY PLANNING

1.

The health care provider administers a pregnancy test upon request, and provides
prenatal counseling as well as necessary routine or high-risk prenatal care upon
confirmation of an inmate being pregnant. Confirmation of pregnancy consists of positive
pregnancy testing results conducted by the medical provider when obtaining a urine
specimen and/or blood test (Beta HCG) from the inmate.

Upon pregnancy confirmation, a Pregnancy Information Form is completed, and the
inmate is scheduled to see the physician.

The health care provider maintains appropriate management of chemically addicted
pregnant inmates.

Pregnant inmates are provided obstetrical care consistent with the community standards
of care.

Recommended medications, treatments, special accommodations (e.g., housing, diet,
recreation, programs, and other conditions of confinement, etc.), and follow-up is
provided as directed by the physician. The use of restraints is in accordance with 5-600,
Use of Restraints.

Inmates seeking family planning are assisted by the health care provider in contacting
Hinds County Health Department. There must be no delay by the medical provider in
contacting DHS and in expediting the appropriate information to the clinic and the

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inmate. The medical contractor maintains a resource list of clinic locations, fee
schedules and telephone references for funding.

The inmate must sign a release of responsibility form which relieves the HCDS and
health care provider of related financial liability.

The HCDS affords the inmate a reasonable number of timely confidential telephone calls
at no cost.

The health care provider assists inmates seeking pregnancy termination without delay.
The inmate must seek a court ordered furlough to be allowed to proceed to the clinic for
pregnancy termination. If a court ordered furlough cannot be obtained in a timely manner
by the inmate, transportation is arranged through the Sheriff's Office. If timing becomes
an issue, the Detention Administrator determines the course of action. At least one
female officer/deputy is provided as escort and an unmarked vehicle must be used.

The inmate must attempt to arrange payment to the clinic prior to the medical procedure
being conducted. If the inmate is unable to obtain the amount of the fee, the inmate may
contact Hinds County Public Health, Planned Parenthood, or Jackson Women’s Health
Organization to attempt to locate funding for the pregnancy termination. There is no
guarantee that government or private funding can be provided.

Nothing in this section precludes appropriate pregnancy related health care services that
are directed by the physician.

lf, at any time, an inmate decides against terminating a pregnancy, the inmate must notify
the health care provider and the Detention Administrator in writing.

13-105 RECORDS AND REPORTS

1.

Medical and dental records of each inmate are maintained on-site and secure by the
medical contractor. These records are maintained separately from Inmate Record
Jackets. The health care provider is the custodian of these records during the
performance of all services. The Sheriff has access to all medical records during the
term of the health care provider's agreement with the Sheriffs Office. Medical records
are accessible by HCDS to allow for transition of provider services.

Records which are scheduled for destruction under approved retention schedules of
the State of Mississippi are returned to the Sheriff for destruction.

Upon the initial medical screening, Medical starts a medical record which contains all
medical information relative to the inmate to include the following:

Completed admission screening form; health appraisal data forms

Treatment plan and Progress Notes including nursing care plan; progress reports
All findings, diagnoses, treatment, dispositions

Record of prescribed medications and their administration

Laboratory, x-ray, and diagnostic studies

Signature and title of individual making proper documentation; consent and
refusal forms

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g. Release of information forms; place, date, and time of health encounters
h. Health service reports (e.g., dental, mental health, and consultations)
i. Discharge summary of hospitalization and other termination summaries

INMATE TRANSFERS AND MEDICAL TRANSPORTS
Prior to transfer to another facility or other substantial travel, health care staff assess
inmates’ suitability for travel

Transport staff take a consult sheet (outlining all pertinent medical information and the
reasons for the medical transport) in a sealed envelope to provide to the attending
physician/nurse.

When returning from a medical transport, the transporting staff returns the completed
consult sheet to Medical.

Prior to any inmate's transfer to another correctional facility, the medical staff prepare a
Medical Transfer Summary which includes a summary of the physical exam(s) with lab
results, x-ray results, medical and mental health status/problems and conditions, current
medications, or medications prescribed that are contraindicated, and any outstanding
scheduled appointments and any follow-up needed. A three-day supply of the inmate's
scheduled prescription medication should accompany the inmate. The Medical Transfer
Summary is forwarded to the Records Supervisor in a sealed envelope. Upon arrival to
the correctional facility, the transporting staff must give the Medical Transfer Summary to
the reception staff at the receiving facility.

Health record information may be disseminated to designated physicians, institutions or
medical facilities upon written authorization of the inmate through the use of an
Authorization for Release of Information Form.

Inmates may request to the Health Services Administrator (HSA) to view their medical
records. The HSA may grant this request at his/her discretion.

13-106 SHARING OF INFORMATION/CONFIDENTIALITY

1.

Information shared by an inmate with health care staff in a therapeutic setting is
considered confidential and protected by the Health Insurance Portability and
Accountability Act and MS Code, Section 41-21-97.

All health care files and documentation are confidential. Health care staff ensure that
necessary and appropriate information is shared with appropriate HCDS staff on a
"NEED-TO-KNOW" basis only. Such information may not be disseminated further
unless documented and approved to do so.

If the need for health care information meets the requirements of HIPAA as outlined in
45 CFR 164.512(k)(5) and of MS Code, Section 41-21-97, for disclosure, heath care files
and case notes can be read by designated Sheriffs Office staff only with prior approval
of either the Sheriff (or the Detention Administrator) AND the Health Services
Administrator. Such review must be in collaboration with the Clinician responsible
for the facility, unless it is to resolve any immediate life-threatening situations and to
assure the safety of the inmate, staff, and the community.

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4. Health care staff discuss confidentiality issues during initial contact with the inmate.
Inmates may waive such confidentiality by signing a Release of Information. HCDS staff
obtaining this form for the release of health care information to those listed on the
form are prohibited from disseminating the information further unless authorized by
the Release of Information, as provided in #3 above, or as otherwise authorized by
HIPAA.
5. All health care files and documentation are maintained in a locked file cabinet/electronic

medical record within the mental health or medical offices and do not become part of the
inmate’s classification/case coordination file or Inmate Record Jacket.

13-107 TRAINING

1.

The HCSO develops and implements a health care training program for all Sheriff's
Office staff to include CPR, first-aid, blood borne pathogen diseases, infectious
diseases, medical emergency procedures, tuberculosis screening, identification of
emotional and psychological problems, and other health-related training programs as
deemed necessary. At a minimum, each staff member must be trained in each of these
areas once per year with the exception of first aid recertification which is required every
two years.

The health services provider participates in orientation and training of Sheriff's Office
staff, including orientation to the medical program for new Detention Officers and special
training as needed.

13-108 INMATE REFUSAL OF CARE

1.

When an inmate is offered a medical evaluation, treatment or care, and the inmate
refuses, the health care staff informs the inmate of the health care consequences of the
refusal. A Detention Officer or health services staff member has the inmate sign

a Treatment Refusal Form. Should the inmate refuse to sign this form, a notation of the
inmate's refusal is indicated on the form and signed by both the Detention Officer and
health services staff.

Health care is rendered against an inmate's will only if it is determined that the inmate is
a danger to him/herself or others.

FORCED PSYCHOTROPIC MEDICATIONS
Any inmate requiring psychotropic medication is encouraged to take his/her medication
voluntarily.

Medical staff informs the ordering psychiatrist and/or appropriate Mental Health staff if
an inmate who has been prescribed psychotropic medication refuses to take it or have it
administered.

In the event of an emergency wherein an inmate presents an immediate threat to
him/herself or others, the psychiatrist or physician is contacted immediately.

When all less restrictive or intrusive measures have been employed or have been
judged by the treating nurse practitioner with consultation with the physician or

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psychiatrist to be inadequate, forced psychotropic medication may be employed upon a
court order.

If time does not permit obtaining a court order, the psychiatrist, in consultation with
another psychiatrist or physician, can order forced medication. Such consultation is
documented. In cases of emergencies where there is an immediate threat to the
inmate’s safety, the psychiatrist may order forced medication. The treatment plan must
address the duration of, and withdrawal from the medication as soon as possible. In the
event of prolonged forced medication or the likelihood of future need of forced
medication for that inmate, a court order is sought.

REFUSAL OF PHYSICAL EXAMINATION

If an inmate fails to cooperate for a physical examination, the medical staff notifies the
Shift Commander, who, in conjunction with the health care provider and Classification
Officer determines appropriate non-punitive action. If the inmate’s condition presents an
immediate threat to him/herself, an examination or other medical intervention may be
employed to the extent needed to address the immediate threat.

Marshand K. Crisler, Sheriff

Date:

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